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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                4:23CR3052

      vs.
                                                ORDER FOR THE PROGRESSION OF
VINCENT J. PALERMO, a/k/a Vinny;                  A COMPLEX CRIMINAL CASE
JOHNNY PALERMO, and RICHARD
GONZALEZ, a/k/a Richie,                             Senior Judge John M. Gerrard

                    Defendants.

      Upon arraignment of defendants this date and the entry of pleas of not guilty,

      IT IS ORDERED:

       1. A status hearing to discuss case progression and how this case will be
resolved will be held at 9:00 a.m. on July 19, 2023 before the undersigned magistrate
judge by telephone. Court will sent instructions for participation on the call. Defense
counsel and counsel for the government shall attend.

       2. Discovery. Within fourteen (14) days of this date, counsel shall confer and
accomplish discovery in accordance with NECrimR 16.1 and Fed.R.Crim.P. 16.
Pursuant to the Due Process Protections Act, the Court confirms the United States'
obligation to disclose to the defendant all exculpatory evidence as required by Brady v.
Maryland, 373 U.S. 83 (1963) and its progeny, and orders the United States to do so.
Failure to disclose exculpatory evidence in a timely manner may result in consequences,
including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal
of charges, contempt proceedings, or sanctions by the Court.

       3. Motions; Prerequisites. The filing, briefing, and hearing of pretrial motions,
including ex parte motions and applications, shall be governed by NECrimR 12.1 - 12.5.

             a.     Discussion regarding pretrial motions will be taken up on July 19,
                    2023.

             b.     In the event that any motions are filed seeking bills of particulars or
                    discovery of facts, documents, or evidence, including Brady
                    material, as part of the motion the moving party shall recite that
                    counsel for the movant has spoken with opposing counsel regarding
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                    the subject of the motion in an attempt to reach agreement without
                    the involvement of the court and that such attempts have been
                    unsuccessful. The motion shall further state the dates and times of
                    any such conferences.

             c.     If request has been made for an evidentiary hearing, a request for
                    leave to file a post-hearing brief may be filed either with the request
                    for evidentiary hearing, or, by a non-moving party, within five days
                    thereafter. A request for post-hearing briefs shall set forth the
                    specific reasons the requesting party cannot be expected to argue its
                    position before the hearing. Post-hearing briefs will not generally be
                    permitted unless the facts are so complex as to require them, or the
                    evidence adduced at the hearing is so different from that expected to
                    be adduced that it triggers different law, the applicability of which
                    could not have been anticipated by the parties before the hearing.

      4. Settlement. If plea negotiations are to be instituted, they shall be concluded
and advice thereof given to the trial judge not less than one week prior to trial.

       5. CJA Vouchers. Applications or vouchers pursuant to the Criminal Justice Act
(“CJA”) for authorization to hire third parties, to exceed the CJA spending limits, or for
the expenditure of CJA funds shall be submitted on an appropriate CJA form available
from the Clerk's office and supported by a statement of:

      (a)    The name, address and telephone number of the person sought to be hired
             (if applicable);

      (b)    A specific statement of the amount sought and the method of computing it;

      (c)    A statement of the factual and legal bases supporting the request, including
             specific argument for exceeding the CJA’s limits.

      6. Speedy Trial Act.

             a.     Upon representation of counsel, with Defendants’ consent due to the
      volume of the record, the court finds that the time between today and July 19,
      2023 is excluded under the Speedy Trial Act because this case is “unusual and
      complex,” and is exempted from the time restrictions of that Act, 18 U.S.C.
      3161(h)(7)(B)(ii)i. Failing to timely object to this order as provided under this
      court’s local rules will be deemed a waiver of any right to later claim the time
      should not have been excluded under the Speedy Trial Act.
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              b.      The prosecuting attorney to whom this case is assigned shall advise
       the court, by letter to the undersigned, at such time as the Speedy Trial Act
       requires that the trial of this case be scheduled within ten days, if trial is not then
       scheduled to begin within the period allowed by the Speedy Trial Act and no
       exceptions have tolled the Act's time limitations. Such notification shall set forth
       the number and dates of the days elapsed and days remaining under the Speedy
       Trial Act as applied to the events of this case.

        7. The defendant shall be present at all pretrial arguments or hearings unless
excused by the court, and if permission is sought to be absent, the defendant shall deliver
to the court in advance an affidavit stating that the defendant knowingly, intelligently and
voluntarily gives up the right to attend such argument or hearing.

       DATED this 24th day of April, 2023.

                                           BY THE COURT:
                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
